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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                               CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                          INJUNCTIVE RELIEF SOUGHT


  FIRST WATCH RESTAURANTS, INC.
  a Foreign Profit Corporation

        Defendant(s).
  ____________________________________/

                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues FIRST WATCH RESTAURANTS, INC., a Foreign Profit

  Corporation, (“Defendant”), for declaratory and injunctive relief, attorneys’ fees, expenses and

  costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. § 12182 et.

  seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:

                                  JURISDICTION AND VENUE

         1.      This Court is vested with original jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based

  on Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as

  the 2010 ADA Standards.

         2.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court for the Southern
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  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                  PARTIES

          3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor

  of the Real Property, which is subject to this suit, and is located at 6240 W Indiantown Rd,

  Jupiter, Florida 33458 (hereinafter “FIRST WATCH JUPITER”), 1493 St Lucie West Blvd, Port

  St Lucie, Florida 34986 (hereinafter “FIRST WATCH ST LUCIE”), 21170 St Andrews Blvd,

  Boca Raton, Florida 33433 (hereinafter “FIRST WATCH BOCA”) and 3257 Hollywood Blvd,

  Hollywood, Florida 33021 (hereinafter “FIRST WATCH HOLLYWOOD”), (collectively

  “Premises”), and is the owner of the improvements where Premises is located.

          5.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          6.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms

  cause sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. At the

  time of Plaintiff’s visit to the Premises on FIRST WATCH JUPITER on November 10, 2021,

  FIRST WATCH ST LUCIE on November 11, 2021, FIRST WATCH BOCA on October 7,
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  2021, and FIRST WATCH HOLLYWOOD on November 8, 2021, (and prior to instituting this

  action), Plaintiff suffered from a “qualified disability” under the ADA and required the use of

  fully accessible service and eating areas, and fully accessible restrooms. Plaintiff personally

  visited the Premises but was denied full and equal access and full and equal enjoyment of the

  facilities and amenities within the Premises, even though he would be classified as a “bona fide

  patron”.

         7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and

  avail himself of the services offered when Defendant modifies the Premises or modifies the

  policies and practices to accommodate individuals who have physical disabilities.

         8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant's discrimination until Defendant is compelled to comply with the

  requirements of the ADA.

         10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public but is currently

  precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are

  taken at the Premises to eliminate the discrimination against persons with physical disabilities.

         11.     Completely independent of the personal desire to have access to this place of

  public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

  purpose of discovering, encountering and engaging discrimination against the disabled in public
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  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at

  Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

  continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

  violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

  Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         12.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed in

  accordance with the requirements of the ADA.

                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         13.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

  above as if fully stated herein.

         14.     On July 26, 1990, Congress enacted the Americans With Disabilities Act

  (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)
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  years from enactment of the statute to implement its requirements. The effective date of Title III

  of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

  employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

  36.508(a).

         15.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with

                  disabilities and, despite some improvements, such forms of discrimination against

                  disabled individuals continue to be a pervasive social problem, requiring serious

                  attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public

                  services and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,

                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to
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                   pursue those opportunities for which our country is justifiably famous, and

                   accosts the United States billions of dollars in unnecessary expenses resulting

                   from dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

          16.      Congress explicitly stated that the purpose of the ADA was to:

                a. provide a clear and comprehensive national mandate for elimination of

                   discrimination against individuals with disabilities;

                b. provide clear, strong, consistent, enforceable standards addressing discrimination

                   against individuals with disabilities; and

                c. invoke the sweep of congressional authority, including the power to enforce the

                   fourteenth amendment and to regulate commerce, in order to address the major

                   areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

          17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

  Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

  fact it provides services to the general public and must be in compliance therewith.

          18.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

  the facilities and therefore suffered an injury in fact.
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           20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to their

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

           21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

  Department of Justice, Officer of the Attorney General promulgated Federal Regulations to

  implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA

  Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

  under which said Department may obtain civil penalties of up to $55,000.00 for the first

  violation and $110,000.00 for and subsequent violation.

           22.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

      I.         FIRST WATCH JUPITER

           Outdoor Restaurant Seating

                 a. Failure to provide seating for a person(s) with a disability that has the correct

                    clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                    902.2, 305 and 306.

                 b. Failure to provide a sufficient amount of seating when dining surfaces are

                    provided for the consumption of food or drink for a person(s) with a disability in

                    violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.
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        Indoor Restaurant Seating

           c. Failure to provide seating for a person(s) with a disability that has the correct

              clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

              902.2, 305 and 306.

           d. Failure to provide a sufficient amount of seating when dining surfaces are

              provided for the consumption of food or drink for a person(s) with a disability in

              violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

           e. Failure to provide a sufficient dispersion of seating thought the facility when

              dining surfaces are provided for the consumption of food or drink for a person(s)

              with a disability in violation of 2010 ADAAG §§ 226, 226.2, 902, 305 and 306.

        Men's Restroom GENERAL

           f. Failure to provide proper signage for an accessible restroom or failure to redirect

              a person with a disability to the closest available accessible restroom facility in

              violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

              703.5 and 703.7.2.1.

           g. Failure to provide paper towel dispenser at the correct height above the finished

              floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           h. Failure to provide proper knee clearance for a person with a disability under a

              counter or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606

              and 606.2.

        Men's Restroom ACCESSIBLE STALL

           i. Failure to provide a coat hook within the proper reach ranges for a person with a

              disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.
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              j. Failure to provide sufficient clear floor space around a water closet without any

                 obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                 603.2.3, 604, 604.3 and 604.3.1. (trash can)

              k. Providing grab bars of improper horizontal length or spacing as required along the

                 rear and side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and

                 604.5.2.

              l. Failure to provide operable parts that are functional or are in the proper reach

                 ranges as required for a person with a disability in violation of 2010 ADAAG §§

                 309, 309.1, 309.3, 309.4 and 308. (toilet paper rolls on grab bars and water closet)

              m. Failure to provide flush controls located on the open side of the water closet in

                 violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

              n. Failure to provide paper towel dispenser at the correct height above the finished

                 floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

              o. Failure to provide the correct spacing for a forward or parallel approach to an

                 element due to a wall or some other obstruction in violation of 2010 ADAAG §§

                 305 and 306.

              p. Failure to provide mirror(s) located above lavatories or countertops at the proper

                 height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

              q. Failure to provide the proper insulation or protection for plumbing or other sharp

                 or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§

                 606 and 606.5.

     II.      FIRST WATCH ST LUCIE

           Restaurant Seating Indoors
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           a. Failure to provide seating for a person(s) with a disability that has the correct

              clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

              902.2, 305 and 306.

           b. Failure to provide a sufficient amount of seating when dining surfaces are

              provided for the consumption of food or drink for a person(s) with a disability in

              violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

           c. Failure to provide a sufficient dispersion of seating thought the facility when

              dining surfaces are provided for the consumption of food or drink for a person(s)

              with a disability in violation of 2010 ADAAG §§ 226, 226.2, 902, 305 and 306.

        Men's Restroom GENERAL

           d. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

              exceeding the limits for a person with a disability in violation of 2010 ADAAG

              §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

           e. Failure to provide the correct opening width for a forward approach into a sink in

              violation of 2010 ADAAG §§ 305, 305.7.1, 404, 605.3 and 606.2.

        Men's Restroom ACCESSIBLE STALL

           f. Failure to provide operable parts that are functional or are in the proper reach

              ranges as required for a person with a disability in violation of 2010 ADAAG §§

              309, 309.1, 309.3, 309.4 and 308. (door handle)

           g. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1. (trash can)
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               h. Failure to provide operable parts that are functional or are in the proper reach

                  ranges as required for a person with a disability in violation of 2010 ADAAG §§

                  309, 309.1, 309.3, 309.4 and 308. (toilet paper rolls on grab bars and water closet)

               i. Providing grab bars of improper horizontal length or spacing as required along the

                  rear wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

            Outdoor Restaurant Seating

               j. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               k. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

     III.      FIRST WATCH BOCA

            Outdoor Seating

               a. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               b. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

            Men's Restroom GENERAL
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           c. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

              exceeding the limits for a person with a disability in violation of 2010 ADAAG

              §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

           d. Failure to provide paper towel dispenser at the correct height above the finished

              floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           e. Failure to provide mirror(s) located above lavatories or countertops at the proper

              height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

           f. Failure to provide proper knee clearance for a person with a disability under a

              counter or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606

              and 606.2.

           g. Failure to provide the correct spacing for a forward or parallel approach to an

              element due to a wall or some other obstruction in violation of 2010 ADAAG §§

              305 and 306.

        Men's Restroom ACCESSIBLE STALL

           h. Failure to provide operable parts that are functional or are in the proper reach

              ranges as required for a person with a disability in violation of 2010 ADAAG §§

              309, 309.1, 309.3, 309.4 and 308. (door handle)

           i. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1. (trash can)

           j. Failure to provide operable parts that are functional or are in the proper reach

              ranges as required for a person with a disability in violation of 2010 ADAAG §§
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                 309, 309.1, 309.3, 309.4 and 308. (toilet paper rolls stored on water closet,

                 blocking grab bar)

              k. Failure to provide paper towel dispenser at the correct height above the finished

                 floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

              l. Failure to provide the proper insulation or protection for plumbing or other sharp

                 or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§

                 606 and 606.5.

              m. Failure to provide the water closet in the proper position relative to the side wall

                 or partition in violation of 2010 ADAAG §§ 604 and 604.2.

           Indoor Seating

              n. Failure to provide seating for a person(s) with a disability that has the correct

                 clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                 902.2, 305 and 306.

              o. Failure to provide a sufficient amount of seating when dining surfaces are

                 provided for the consumption of food or drink for a person(s) with a disability in

                 violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

              p. Failure to provide a sufficient dispersion of seating thought the facility when

                 dining surfaces are provided for the consumption of food or drink for a person(s)

                 with a disability in violation of 2010 ADAAG §§ 226, 226.2, 902, 305 and 306.

     IV.      FIRST WATCH HOLLYWOOD

           Men's ACCESSIBLE Restroom
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           a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

              exceeding the limits for a person with a disability in violation of 2010 ADAAG

              §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

           b. Providing a swinging door or gate with improper maneuvering clearance(s) due to

              a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1,

              404.2, 404.2.4 and 404.2.4.1.

           c. Failure to provide a coat hook within the proper reach ranges for a person with a

              disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

           d. Failure to provide the proper spacing between a grab bar and an object projecting

              out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.

           e. Providing grab bars of improper horizontal length or spacing as required along the

              rear wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

           f. Failure to provide sufficient clear floor space around a water closet without any

              obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

              603.2.3, 604, 604.3 and 604.3.1. (trash can)

           g. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§

              606 and 606.5.

           h. Failure to provide paper towel dispenser at the correct height above the finished

              floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           i. Failure to provide the correct spacing for a forward or parallel approach to an

              element due to a wall or some other obstruction in violation of 2010 ADAAG §§

              305 and 306.
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               j. Failure to provide the water closet in the proper position relative to the side wall

                  or partition in violation of 2010 ADAAG §§ 604 and 604.2.

               k. Failure to provide toilet paper dispensers in the proper position in front of the

                  water closet or at the correct height above the finished floor in violation of 2010

                  ADAAG §§ 604, 604.7 and 309.4.

               l. Failure to provide operable parts that are functional or are in the proper reach

                  ranges as required for a person with a disability in violation of 2010 ADAAG §§

                  309, 309.1, 309.3, 309.4 and 308. (door lock)

         Outdoor Seating and Indoor Seating

               m. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               n. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

         23.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 22 herein.

         24.      Although Defendant is charged with having knowledge of the violations,

  Defendant may not have actual knowledge of said violations until this Complaint makes

  Defendant aware of same.

         25.      To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.
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         26.     As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were

  occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

  continuing obligation to remove architectural barriers at the Premises where removal was readily

  achievable, as required by 28 C.F.R. §36.402.

         27.     To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

  obligation to design and construct such Premises such that it is readily accessible to and usable

  by individuals with disabilities, as required by 28 C.F.R. §36.401.

         28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

         29.     All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

         30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991

  ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied to

  the 1991 ADAAG standards.

         31.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the

  following injunctive and declaratory relief:
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           1. That this Court declares that Premises owned, operated and/or controlled by
              Defendant is in violation of the ADA;
           2. That this Court enter an Order requiring Defendant to alter their facilities to make
              them accessible to and usable by individuals with disabilities to the full extent
              required by Title III of the ADA;
           3. That this Court enter an Order directing the Defendant to evaluate and neutralize
              their policies, practices and procedures toward persons with disabilities, for such
              reasonable time so as to allow the Defendant to undertake and complete corrective
              procedures to Premises;
           4. That this Court award reasonable attorney’s fees, all costs (including, but not
              limited to the court costs and expert fees) and other expenses of suit to the
              Plaintiff; and,
           5. That this Court award such other and further relief as it may deem necessary, just
              and proper.

        Dated December 10, 2021.

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